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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                              )
IN RE: PHILIPS RECALLED CPAP,                 )
BI-LEVEL PAP, AND MECHANICAL                  )
VENTILATOR PRODUCTS                           )       Master Docket: Misc. No. 21-1230
LITIGATION                                    )
                                              )
                                              )       MDL No. 3014
This Document Relates to: All Actions         )
Asserting Economic Loss Claims                )
                                              )
                                              )
                                              )


                                 MEMORANDUM OPINION


       Pending before the court is an Unopposed Motion of Settlement Class Representatives for

Final Approval of Class Settlement and Release of Economic Loss Claims, Final Judgment,

Injunction and Order of Dismissal, with brief and exhibits in support (ECF Nos. 2659, 2660), and

a motion for attorneys’ fees and expenses and a brief in support. (ECF Nos. 2420, 2421).



  I.   Brief History

       On September 7, 2023, class counsel for plaintiffs filed an unopposed motion for

preliminary approval of the settlement and release of economic loss claims, with brief in support.

(ECF Nos. 2212, 2213). The court held a preliminary approval hearing on September 18, 2023. At

that hearing, the court expressed concerns and raised questions about the settlement agreement and

the proposed notice plan. The court instructed the parties to meet and confer to address the court’s

concerns and questions and scheduled a follow-up hearing for October 10, 2023. On September




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25, 2023, plaintiffs filed a supplemental brief in further support of the motion for preliminary

approval, which included revisions to the settlement agreement and proposed notice plan. (ECF

No. 2263). On October 5, 2023, plaintiffs filed an amended proposed settlement agreement (the

“Settlement Agreement”). (ECF No. 2279). At the continued preliminary approval hearing on

October 10, 2023, having been satisfied with the revisions to the settlement agreement and the

proposed notice plan, the court granted preliminary approval (ECF No. 2289) and scheduled a final

fairness hearing for April 11, 2024. On January 8, 2024, plaintiffs filed a motion for attorneys’

fees and expenses and a brief in support. (ECF Nos. 2420, 2421). On March 21, 2024, class counsel

filed the objections to the proposed settlement, which had been submitted to the settlement

administrator (ECF No. 2654), a notice of compliance with the notice plan (ECF No. 2657), and a

motion for final approval of class settlement agreement and release of economic loss claims, final

judgment, injunction and order of dismissal, with brief in support (ECF Nos. 2659, 2660). On

March 21, 2024, the Philips defendants 1 filed their notice of compliance with the Class Action

Fairness Act (ECF No. 2656). On April 9, 2024, plaintiffs filed updated documents in support of

final approval of the economic loss class settlement agreement and release of economic loss

claims. (ECF No. 2707). The final fairness hearing proceeded as scheduled on April 11, 2024.

    II.   Class Action Settlement

          Before a class action can be settled, the settlement must first be approved by the court, but

only after the court holds a hearing and finds that the settlement is “fair, reasonable, and adequate.”

Fed. R. Civ. P. 23(e)(2). As part of this undertaking, the court must: “(1) determine if the

requirements for class certification under Rule 23(a) and (b) are satisfied; (2) assess whether notice



1
 The Philips defendants are Philips RS North America LLC (“Philips RS”), Koninklijke Philips
N.V. (“KPNV”), Philips North America LLC, Philips Holding USA Inc., and Philips RS North
America Holding Corporation.


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to the proposed class was adequate; and (3) evaluate if the proposed settlement is fair under Rule

23(e).” Sorace v. Wells Fargo Bank, N.A., No. CV 20-4318, 2024 WL 643229, at *2 (E.D. Pa.

Feb. 15, 2024) (citing In re NFL Players Concussion Inj. Litig., 775 F.3d 570, 581 (3d Cir. 2014)).

III.   Class Certification

       For a class to be certified, it must meet all four requirements prescribed by Rule 23(a):

numerosity, commonality, typicality, and adequacy. Here, the class to be certified is defined as

follows:

       Plaintiffs and all other individuals or entities in the United States [including its
       Territories (American Samoa, Guam, the Northern Mariana Islands, Puerto Rico,
       and the U.S. Virgin Islands), and the District of Columbia], including individuals
       who are United States citizens, residents, United States military, diplomatic
       personnel and employees living or stationed overseas, who or which, prior to the
       announcement of the Recalls, either (a) purchased, leased, rented, or paid for (in
       whole or part), or were prescribed a Recalled Device (“Users”), or (b) reimbursed
       (in whole or part) a User’s payment to purchase, lease, rent, or otherwise pay for a
       Recalled Device, including insurers, self-funded employers, and other third-party
       payers (“Payers”). Individuals or entities whose payment obligations with respect
       to a particular Recalled Device preceded the announcement of the relevant Recall
       are part of the Settlement Class even if certain of their payment obligations
       postdated the Recall (e.g., certain renters and lessees).

(ECF No. 2213 at 8).

           A. Numerosity

       While there is no minimum requirement, courts generally find the numerosity requirement

is satisfied when the class exceeds forty members. Stewart v. Abraham, 275 F.3d 220, 227 (3d Cir.

2001). Here, with over 10 million Recalled Devices 2 and millions of putative class members, the

numerosity requirement is easily met.




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  All capitalized terms, not otherwise defined in this opinion, shall have the meaning ascribed to
the terms in the Settlement Agreement at ECF No. 2279.


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           B. Commonality

       The Third Circuit Court of Appeals has explained that “the focus of the commonality

inquiry is not on the strength of each plaintiff's claim, but instead ‘is on whether the defendant's

conduct was common as to all of the class members.’” Rodriguez v. Nat'l City Bank, 726 F.3d 372,

382 (3d Cir. 2013) (quoting Sullivan v. DB Invs., Inc., 667 F.3d 273, 299 (3d Cir. 2011)). The

resulting test is not a demanding one; a single question of law or fact is enough to meet the

commonality threshold. Id. Here, there are many common questions of law and fact, but the one

that looms largest over all putative class members is whether the devices in question were

defective. Thus, the commonality threshold is also easily met.

           C. Typicality

       The typicality test is meant for the court to determine “whether the action can be efficiently

maintained as a class and whether the [n]amed [p]laintiffs have incentives that align with those of

absent class members so as to assure that the absentee's interests will be fairly represented.” Baby

Neal v. Casey, 43 F.3d 48, 57 (3d Cir. 1994). Put differently, the court must determine whether

the named plaintiffs have unique circumstances separating them from the putative class or whether

there are any differing legal theories being asserted by the named plaintiffs. Id. at 57–58. Here, the

class representatives include “individuals who paid for (in whole or in part) Recalled Devices that

they used; Users who paid for Replacement Devices; a hospital that purchased Recalled Devices;

and a third-party payer.” (ECF No. 2213 at 38). Because the class representatives had purchased

or used the same kinds of devices subject to the recalls, i.e., the Recalled Devices, they suffered

the same kind of financial harm as the class, all of which stemmed from the same alleged conduct

of the Philips defendants. This requirement is met.




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            D. Adequacy

        Adequacy tests whether “the representative parties will fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). The interests of the class representatives align with

the interests of the putative class members, and the class representatives have no discernible

conflicts of interest. (ECF No. 2213 at 39). Additionally, class counsel are qualified and have

significant experience from representing plaintiffs in other complex class actions. The court is

satisfied that the interests of the class have been adequately protected by the class representatives

and the class counsel.

            E. At least one of the three requirements listed in 23(b)

        Along with the Rule 23(a) factors, the class must fall within one of the three kinds of classes

contemplated by Rule 23(b). Fed. R. Civ. P. 23(b). The class defined in the Settlement Agreement

falls within Rule 23(b)(3), which requires that “questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

R. Civ. P. 23(b)(3). “The predominance inquiry focuses on whether the defendants’ conduct was

common to all class members and whether that conduct harmed everyone in the class.” Sorace,

2024 WL 643229, at *3. Here, the Philips defendants’ conduct in selecting and installing the

polyester polyurethane (“PE-PUR”) foam into the Recalled Devices is common to all class

members.

        The superiority factor instructs the court “to balance, in terms of fairness and efficiency,

the merits of a class action against those of alternative available methods of adjudication.” In re




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Warfarin Sodium Antitrust Litig., 391 F.3d 516, 533–34 (3d Cir. 2004). To conduct the balancing

test, Rule 23(b)(3) provides four factors for the court’s consideration:

       (A) the interest of members of the class in individually controlling the prosecution
       or defense of separate actions; (B) the extent and nature of any litigation concerning
       the controversy already commenced by or against members of the class; (C) the
       desirability or undesirability of concentrating the litigation of the claims in the
       particular forum; and (D) the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3). These factors are satisfied here because handling the economic loss claims

on an individual basis would be far more time consuming and cumbersome and far less efficient

than handling them on a class level. The economic loss claims are encompassed in the

Consolidated Economic Loss Complaint, and there are only a limited number of state actions

pending. The numerous economic loss claims were transferred to this court as part of this complex

multidistrict litigation. The court does not discern any significant difficulties in managing the class

claims relating to economic loss. A class action is therefore superior to other methods of

adjudication.

           F. Ascertainability

       An “essential prerequisite” for class actions certified under Rule 23(b)(3), “is that the class

must be currently and readily ascertainable based on objective criteria.” Marcus v. BMW of N. Am.,

LLC, 687 F.3d 583, 592–93 (3d Cir. 2012). The ascertainability inquiry is two-fold, requiring a

plaintiff to show that: (1) the class is “defined with reference to objective criteria”; and (2) there

is “a reliable and administratively feasible mechanism for determining whether putative class

members fall within the class definition.” Byrd v. Aaron's Inc., 784 F.3d 154, 163 (3d Cir. 2015),

as amended (Apr. 28, 2015). Both factors are satisfied here. First, the class is defined by objective

criteria: individuals who paid for, rented, or were prescribed a Recalled Device prior to the Recall,

and Payers for Recalled Devices. Second, there is a reliable and administratively feasible




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mechanism to determine who falls within the class: each device has a serial number in Philips’

database with respect to the Recall.

       Because all relevant Rule 23(a) and (b) factors are met, and for the reasons set forth on the

record on April 11, 2024, the settlement class is certified for purposes of settlement approval.



IV.    Appropriate Notice

       Under the Federal Rules of Civil Procedure, when a class is certified under Rule 23(b)(3),

“the court must direct notice to the class members in the best way practicable under the

circumstances.” Fed. R. Civ. P. 23(c)(2)(B). Specifically,

       the notice must clearly and concisely state in plain, easily understood language: (i)
       the nature of the action; (ii) the definition of the class certified; (iii) the class claims,
       issues or defenses; (iv) that a class member may enter an appearance through an
       attorney if the member so desires; (v) that the court will exclude from the class any
       member who requests exclusion; (vi) the time and manner for requesting exclusion;
       and (vii) the binding effect of a class judgment on members under Rule 23(c)(3).

Fed. R. Civ. P. 23(c)(2)(B).

       Here, before granting preliminary approval, the court closely scrutinized the Notice

Program and notice forms, the frequently asked questions to be posted on the Settlement Website,

the descriptions of Settlement benefits and releases, and the process for objecting to the Settlement

or opting out of the Class. After some revisions to these documents, the court approved the Notice

Plan. Based on the declaration of Steven Weisbrot, Esq, President and Chief Executive Officer of

the claims administrator, Angeion Group, LLC, “the Notice Plan was designed to target a wide

variety of geographic and demographic markets to reach User members of the Settlement Class

and deliver an approximate 86.70% reach.” (ECF No. 2657-1 ¶ 31). As part of a multi-faceted

approach, the Notice Plan included: mailed notice to 4,981,572 eligible users, whose addresses

were verified through the United States Postal Service’s National Change of Address database;



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emailed notice to the 2,912,887 valid email addresses identified for registered users and 2,556

valid email addresses identified as potential third-party Payers; user media notice through

advertisements on Spotify, Pandora, and Sirius XM; publication notice in magazines, i.e., Southern

Living, Sports Illustrated, and People; media notice to Payers consisting of “digital programmatic

display advertising, social media advertising via Facebook and LinkedIn, and an additional paid

search campaign via Google, all of which were separate and apart from the User media campaign

and were specifically designed to reach Payer Settlement Class Members;” publication notice

directed toward Payers in HR Magazine; mailed notice via first-class mail to Durable Medical

Equipment providers; and press releases. (Id. at 2–8). 3 These efforts exceeded the desired threshold

of 86.7% and reached approximately 90% of the class. (ECF No. 2657-1 ¶ 31). The Notice Plan

meets all the requirements of Rule 23. The notice provided under the Notice Plan included

information regarding the litigation, the definition of the class and the claims and issues in the

litigation, and the claims that will be released in the settlement. (ECF No. 2657 at 17–39). The

notice also: advised that a class member may object to the settlement and enter an appearance to

attend the final fairness hearing (Id. at 38); described the binding effect of a judgment on class

members (Id. at 38); stated the procedures and deadline for class members to exclude themselves

from the class or to object (Id. at 35–37); and provided the date, time and location of the final

settlement hearing (Id. at 39). Under these circumstances, the notice was directed to the putative

class members in the best way practicable under the circumstances.




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 Additionally, Philips RS issued a push notification to 1,048,576 registered users of the
DreamMapper App. (ECF No. 2657-1 ¶ 20).


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 V.    Whether the Settlement is Fair, Reasonable, and Adequate

       Having found that the notice was adequate, the court must next determine whether the

proposed settlement is “fair, reasonable, and adequate.” In re Prudential Ins. Co. Am. Sales Prac.

Litig. Agent Actions, 148 F.3d 282, 316 (3d Cir. 1998). The Third Circuit Court of Appeals has

instructed district courts to apply a presumption of fairness where: “(1) the settlement negotiations

occurred at arm's length; (2) there was sufficient discovery; (3) the proponents of the settlement

are experienced in similar litigation; and (4) only a small fraction of the class objected.” In re

Warfarin, 391 F.3d at 535. Here, the proposed settlement was reached after more than a year of

hard-fought, arm’s length negotiations and mediation overseen by a retired federal magistrate

judge. Further, the mediator opined that:

       the proposed settlement was the result of good faith, fair, thorough, and fully-
       informed arm’s-length negotiations between highly capable and experienced
       parties and counsel with a strong command of relevant facts and legal principles.
       The settlement represents the parties’ and counsel’s best efforts and judgments after
       thoroughly investigating the case, considering the risks, strengths, and weaknesses
       of their respective positions on the myriad factual and legal issues; the substantial
       risks, burdens, delays and costs of continued litigation; and the best interests of
       their respective clients.

(ECF No. 2213 at 230). Lastly, out of the more than 5 million class notices sent, the settlement

administrator received objections from only seventy-eight putative class members. (ECF No. 2660

at 12). Because this is an infinitesimally small number of objectors and the other three factors are

present, the presumption of fairness applies.

       With this initial presumption of fairness in mind, the court examines Rule 23(e)(2) and the

additional factors for consideration developed by the Third Circuit Court of Appeals.

           A. Rule 23(e)(2)

       In determining whether the proposed settlement is fair, adequate, and reasonable, Rule

23(e)(2) directs courts to consider whether:



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       (A) the class representatives and class counsel have adequately represented the
       class;
       (B) the proposal was negotiated at arm's length;
       (C) the relief provided for the class is adequate, taking into account:
               (i) the costs, risks, and delay of trial and appeal;
               (ii) the effectiveness of any proposed method of distributing relief to the
               class, including the method of processing class-member claims;
               (iii) the terms of any proposed award of attorney's fees, including timing of
               payment; and
               (iv) any agreement required to be identified under Rule 23(e)(3); and
       (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(c)(2)(B).

           B. Additional Third Circuit Factors to be Considered

       Through a series of cases, the Third Circuit Court of Appeals identified additional factors

for district courts to evaluate prior to approving a settlement. First, in Girsh v. Jepson, the court

identified nine factors for consideration:

       (1) the complexity, expense and likely duration of the litigation; (2) the reaction of
       the class to the settlement; (3) the stage of the proceedings and the amount of
       discovery completed; (4) the risks of establishing liability; (5) the risks of
       establishing damages; (6) the risks of maintaining the class action through the trial;
       (7) the ability of the defendants to withstand a greater judgment; (8) the range of
       reasonableness of the settlement fund in light of the best possible recovery; [and]
       (9) the range of reasonableness of the settlement fund to a possible recovery in light
       of all the attendant risks of litigation.

521 F.2d 153, 157 (3d Cir.1975). Second, in order to account for the “sea-change in the nature of

class actions” in the two decades since Girsh, the court identified six additional factors for, when

appropriate, consideration:

       (1) the maturity of the underlying substantive issues, as measured by experience in
       adjudicating individual actions the development of scientific knowledge, the extent
       of discovery on the merits, and other factors that bear on the ability to assess the
       probable outcome of a trial on the merits of liability and individual damages; (2)
       the existence and probable outcome of claims by other classes and subclasses; (3)
       the comparison between the results achieved by the settlement for individual class
       or subclass members and the results achieved—or likely to be achieved—for other
       claimants; (4) whether class or subclass members are accorded the right to opt out
       of the settlement; (5) whether any provisions for attorneys' fees are reasonable; and



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       (6) whether the procedure for processing individual claims under the settlement is
       fair and reasonable.

In re Prudential, 148 F.3d at 323. The court clarified that the Girsh factors are mandatory, and

district courts “must make findings as to each of the nine Girsh factors in order to approve a

settlement as fair, reasonable, and adequate, as required by Rule 23(e).” In re Pet Food Prod. Liab.

Litig., 629 F.3d 333, 350 (3d Cir. 2010). The Prudential factors, or considerations, on the other

hand, are permissive and “illustrative of additional inquiries that in many instances will be useful

for a thoroughgoing analysis of a settlement's terms.” Id.

       Third, the court instructed district courts to consider the “degree of direct benefit provided

to the class.” In re Baby Prod. Antitrust Litig., 708 F.3d 163, 174 (3d Cir. 2013). As part of this

consideration, courts may consider “the number of individual awards compared to both the number

of claims and the estimated number of class members, the size of the individual awards compared

to claimants' estimated damages, and the claims process used to determine individual awards.” Id.

           C. Analysis

                     (i)     Rule 23(e)(2)

       The proposed settlement satisfies the requirements of Rule 23(e)(2). First, class counsel

and the class representatives adequately represented the class. Here, through the voluminous

production of documents, consultation with experts, and a science day, counsel “develop[ed]

enough information about the [litigation] to appreciate sufficiently the value of the claims.” In re

NFL Players Concussion Injury Litig., 821 F.3d 410, 439 (3d Cir. 2016). Second, the parties

negotiated the settlement at arm's length during mediations conducted by an experienced mediator.

Third, all factors of Rule 23(e)(2)(C) are satisfied by settling the economic loss claims at this time:

(i) “continuing this litigation would cause the parties to incur substantial additional costs and

necessitate extensive trial preparation[,]” and “continuing through trial and subsequent appeals



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would only delay any recovery class members may receive” Sorace, 2024 WL 643229, at *5; (ii)

the proposed method of distributing relief to the class is effective, and the notice complied

with Rule 23 and adequately informed class members about the steps necessary to receive relief,

including the “Accelerated Implementation Option” (“AIO”); 4 and (iii) the relief to the class

remains adequate when considering the proposed award of attorneys’ fees ($94.4 million), and the

Settlement Fund (in an amount not less than $495 million) will not be reduced to accommodate

payment of class counsel’s attorneys’ fees and expenses, the cost of Notice and Settlement

Administration, or Service Awards to the Settlement Class Representatives. The court considered

the Settlement Agreement’s provision that defendants will not oppose class counsels’ request for

attorneys’ fees. The court found that provision did not preclude approval because the court

determined after a close look at this provision in the context of the larger settlement, that it is not

a basis upon which to disapprove the settlement. See In re Wawa, Inc. Data Sec. Litig., 85 F.4th

712, 725–26 (3d Cir. 2023). This Settlement Agreement is the product of extensive mediations

before the mediator, who attests that attorneys’ fees were not a negotiating tool during settlement

discussions. While the attorneys’ fees were not negotiated until after reaching the principal terms

of the settlement, the court considered them in the context of being part of a constructive common

fund. After review based upon the percentage range and lodestar calculation, the court determined

that the attorneys’ fees and expenses were reasonable. See infra section VIII. The court concludes

relief to the class is adequate. Fourth, refund payments are based on the kind of device. Because




4
  The AIO “enables Eligible Users who have enrolled or registered their Recalled Devices and
returned them before the Claims Period Deadline to obtain their Device Payment and Device
Return Awards even before any appeals from the Final Judgment Order have been decided, and
regardless of the outcome of those appeals.” (ECF No. 2660 at 3).


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the settlement is directly related to each class member’s actual loss based upon the kind of device,

it equitably treats the class members.

                     (ii)    Additional Third Circuit Factors

            a) Girsh Factors

       The first Girsh factor “captures the probable costs, in both time and money,

of continued litigation.” In re Warfarin, 391 F.3d at 535–36 (quoting In re Cendant Corp. Litig.,

264 F.3d 201, 233 (3d Cir. 2001)). Here, as in In re Suboxone (Buprenorphine Hydrochloride &

Naloxone) Antitrust Litig., No. 13-MD-2445, 2024 WL 815503 (E.D. Pa. Feb. 27, 2024),

continuing through trial would have required complicated and costly pretrial proceedings, “all

without guarantee of any recovery. Ultimately, the settlement eliminated these risks and provided

immediate and guaranteed recovery.” In re Suboxone, 2024 WL 815503, at *6. Because this

settlement, like the settlement in In re Suboxone, “reduces expenses and avoids delay, this factor

weighs heavily in favor of approving the Settlement.” Id.

       The second Girsh factor “attempts to gauge whether members of the class support the

settlement.” In re Prudential, 148 F.3d at 318. Out of the more than 5 million class notices sent,

the settlement administrator received only seventy-eight objections and 390 opt-outs. 5 This factor

favors approval of the Settlement. See Id. (a district court did not abuse its discretion where there

were approximately 19,000 opt-outs and 300 objections from a class of 8 million putative

members).




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  The opt-outs are shown on the chart filed by class counsel at ECF No. 2722. That same chart
identifies putative class members who indicated a desire to opt out, but failed to comply with the
requirements for opt-out. (ECF No. 2279-1 at 41–43). At the April 11, 2024 hearing, the court
required that notice be given to those putative class members that their attempt to opt out did not
meet the requirements. To date, the court has not received any motions to challenge the
determination about deficiencies.


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       The third Girsh factor “ensure[s] that a proposed settlement is the product of informed

negotiations.” Id. at 319. Formal discovery, however, is not required— “[w]hat matters is not the

amount or type of discovery class counsel pursued, but whether they had developed enough

information about the case to appreciate sufficiently the value of the claims.” In re NFL, 821 F.3d

at 439. In its preliminary approval order, the court previously determined that “the Parties have

reached the Settlement after investigating the strengths and weaknesses of the Economic Loss

Claims and the defenses thereto[.]” (ECF No. 2289 at 3). Additionally, the mediator opined that

the settlement was the result of “counsel’s best efforts and judgments after thoroughly

investigating the case, considering the risks, strengths, and weaknesses of their respective positions

on the myriad factual and legal issues . . . .” (ECF No. 2213-2). This factor favors approval of the

settlement.

       Courts commonly group the fourth and fifth Girsh factors because they “survey the

possible risks of litigation in order to balance the likelihood of success and the potential damage

award if the case were taken to trial against the benefits of an immediate settlement.” In re

Warfarin, 391 F.3d at 537. Counsel representing the Philips Defendants have vigorously defended

their clients in this multidistrict litigation, contesting many issues of fact and liability, including

jurisdiction over the foreign parent entity KPNV. If KPNV prevailed on its motion to dismiss on

jurisdictional grounds, there could be a risk that a substantial judgment against Philips RS could

not be satisfied. These factors favor approval of the Settlement.

       The sixth Girsh factor “measures the likelihood of obtaining and keeping a class

certification if the action were to proceed to trial.” In re Warfarin, 391 F.3d at 537. But, “[b]ecause

there is always a ‘possibility of decertification, and consequently the court can always claim this




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factor weighs in favor of settlement,’ this factor merits slight weight.” Sorace, 2024 WL 643229,

at *7 (quoting In re Prudential, 148 F.3d at 321).

       The seventh Girsh factor asks “whether the defendants could withstand a judgment for an

amount significantly greater than the [s]ettlement.” In re Warfarin, 391 F.3d at 537–38 (quoting

In re Cendant, 264 F.3d at 240). This factor, however, also carries little weight because the fact

that a defendant could pay more does not mean that it should pay more than what was negotiated.

See Id. at 538; Jackson v. Wells Fargo Bank, N.A., 136 F. Supp. 3d 687, 705 (W.D. Pa. 2015).

Additionally, this settlement only pertains to one of three kinds of claims against the defendants

(remaining claims: personal injury and medical monitoring), and, arguably, at least the personal

injury claims might carry a much greater liability.

       The eighth and ninth Girsh factors address “whether the settlement is reasonable in light

of the best possible recovery and the risk of further litigation.” In re Warfarin, 391 F.3d at 538.

These factors ask courts to “evaluate whether the settlement represents a good value for a weak

case or a poor value for a strong case.” Id. This involves comparing “the damages plaintiffs would

likely recover if successful—discounted for the risk of not prevailing—with the amount of the

settlement agreement.” Sorace, 2024 WL 643229, at *8. As noted the by the Third Circuit Court

of Appeals in In re NFL, the court “must take seriously the litigation risks inherent in pressing

forward with the case,” including the possibility that litigation could leave class members with “no

recovery at all.” 821 F.3d at 440. In this case the damaged machines are subject to remedial

measures. In Solak v. Ford Motor Co., 2023 WL 4628456, at *3-5 (E.D. Mich. July 19, 2023), the

court dismissed a complaint for economic damages (without leave to replead) after finding that the

automaker’s remedial measures (a voluntary recall to replace defective airbags free of charge and

reimburse owners who already paid for repairs) rendered the claims prudentially moot. That




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decision illustrates the litigation risks here and sheds further light on the reasonableness of this

settlement. Another consideration, as discussed above, is that if KPNV were to be dismissed for

lack of personal jurisdiction, there is the possibility that a larger amount would not be available

from the remaining defendants to pay the economic loss claims. This factor favors approval of the

settlement.

       Taken together, the Girsh factors favor approval of the settlement.

              b) Prudential Factors

       The first Prudential factor—"maturity of the underlying substantive issues—substantially

mirrors Girsh factor three, the stage of the proceedings.” In re Suboxone, 2024 WL 815503, at *9.

Class Counsel conducted significant legal and factual investigations before beginning settlement

discussions. They also conducted formal and informal discovery of defendants. As a result, class

counsel began the mediation process with substantial information about the Recalled Devices, the

conduct of the defendants leading to the recalls, and the merits of the legal claims and factual

allegations asserted in the Consolidated Economic Loss Complaint. This factor favors approval of

the Settlement.

       Factors two and three look at the outcomes of claims by other classes and other claimants

and are not applicable here. Factor four, right to opt out, is met because class members were given

an adequate opportunity to opt out of the Settlement. Factor four, therefore, favors approval of the

Settlement. Factor five, reasonableness of attorneys’ fees, is discussed in detail below, and favors

approval of the Settlement. Factor six, procedure for processing individual claims, is met because

the court carefully considered the procedure for processing individual claims and found it to be

both fair and reasonable. Factor six, therefore, favors approval of the Settlement.




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       After considering the applicable Prudential factors, the court finds they favor approval of

the Settlement.

           c) Baby Products Factor

       The remaining factor from the Third Circuit Court of Appeals the court must consider is

the Baby Products direct benefit factor. The number of individual awards is not relevant where, as

here, “each class member who submit[s] a valid claim is eligible to receive an individual award.”

In re Suboxone, 2024 WL 815503, at *11. Regarding the size of the individual awards compared

to claimants’ damages, “the Settlement represents a compromise but still awards each class

member a substantial direct benefit that is immediate and guaranteed.” Id. Notably, the payments

under the Settlement are directly related to the claimants’ purchase or use of specific Recalled

Devices.

       The direct benefit to the class favors approval of the Settlement.

                     (iii)   Conclusion with Respect to Fairness of the Economic Loss Settlement

       The requirements of the Federal Rules of Civil Procedure are met by the Economic Loss

Settlement, and the Girsh factors, the Prudential factors, as well as the Baby Products direct

benefit factor, all favor approval of the Settlement.

VI.    Whether the Distribution Plan is Fair, Reasonable, and Adequate

       The court must not only approve the settlement as fair, reasonable, and adequate, but it

must also approve the proposed distribution plan as fair, reasonable, and adequate. Sullivan, 667

F.3d at 326. Generally, courts “consider plans of allocation that reimburse class members based

on the type and extent of their injuries to be reasonable.” Id. at 328. Here, all class members are

entitled to compensation, and that compensation is directly related to the device purchased or used

by the relevant class members. This distribution is fair, reasonable and adequate.




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VII.       Objections

           At the final fairness hearing on April 11, 2024, the court addressed and overruled the

objections of seventy-eight putative class members that were submitted to the claims administrator.

That court will not readdress every objection here, as the record will reflect the court’s position

with respect to each objection. Attached as Exhibit A to this opinion is a chart listing the objections,

the numbers used by the plaintiffs to identify each objection submitted, the bases for the objections,

and the responses to the objections. As discussed during the hearing, the responses were accepted

by the court, and the objections were overruled. The court will, however, briefly address two of

the common positions taken by more than one objector.

       •   Many objectors based their objections—and some their only objection—on the

           fundamental misunderstanding that this Settlement somehow affected their rights to any

           damages related to personal injury or medical monitoring. To be clear, this Settlement is

           solely for the economic loss related to the Recalled Devices themselves and does not strip

           the class members of any claim for potential recovery related to personal injury or medical

           monitoring.

       •   Other objectors based their objections—again, and some their only objection—on

           variations about the settlement amount being paid to them not being enough money. This

           generalized objection cannot suffice because the settlement is a compromise, “a yielding

           of the highest hopes in exchange for certainty and resolution.” In re Prudential, 148 F.3d

           at 317; see also In re Mexico Money Transfer Litig. (W. Union & Valuta), 164 F. Supp. 2d

           1002, 1028 (N.D. Ill. 2000) (“The court is called upon here to assess a settlement proposal,




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        not the relief that would be accorded Plaintiffs were they to win their claims following

        litigation.”).

VIII.   Attorneys’ Fees and Expenses

            A. Fees

        Plaintiffs’ counsel seek an award of attorneys’ fees in the amount of $94.4 million. The

 Federal Rules of Civil Procedure provide that “[i]n a certified class action, the court may award

 reasonable attorney[s’] fees . . . that are authorized by law or by the parties’ agreement.” Fed. R.

 Civ. P. 23(h). Traditionally, there are two methods of evaluating requests for attorneys’ fees: the

 percent-of-recovery method and the lodestar method. In re Prudential, 148 F.3d at 333. The

 percent-of-recovery method “calculates the percentage of the total recovery that the proposal

 would allocate to attorneys’ fees by dividing the amount of the requested fee by the total amount

 paid out by the defendant . . . .” In re Cendant, 264 F.3d at 256. “The percentage-of-recovery

 method is appropriate where, as here, the value of the settlement to the class can be readily

 calculated.” Sorace, 2024 WL 643229, at *12. The lodestar method is based on “the number of

 hours reasonably expended” to determine “an adequate fee irrespective of the monetary value of

 the final relief achieved for the class.” In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod.

 Liab. Litig., 55 F.3d 768, 821 (3d Cir. 1995).

        All class action settlements require “thorough judicial review of fee applications.” In re

 Prudential, 148 F.3d at 333. Courts within the Third Circuit utilize the Gunter and Prudential

 factors to determine the reasonableness of fee applications. See In re Diet Drugs

 (Phentermine/Fenfluramine/Dexfenfluramine) Product Liability Litigation, 582 F.3d 524, 541 (3d

 Cir. 2009). The Gunter factors include:

        (1) the size of the fund created and the number of persons benefitted; (2) the
        presence or absence of substantial objections by members of the class to the



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       settlement terms and/or the fees requested by counsel; (3) the skill and efficiency
       of the attorneys involved; (4) the complexity and duration of the litigation; (5) the
       risk of nonpayment; (6) the amount of time devoted to the case by counsel; and (7)
       awards in similar cases.

Id. The Prudential factors are:

       (1) the value of benefits accruing to class members attributable to the efforts of
       class counsel as opposed to the efforts of other groups, such as government agencies
       conducting investigations; (2) the percentage fee that would have been negotiated
       had the case been subject to a private contingent fee agreement at the time counsel
       was retained; and (3) any “innovative” terms of settlement.

Id. These factors ‘“need not be applied in a formulaic way’ because each case is different, ‘and in

certain cases, one factor may outweigh the rest.”’ Id. at 545 (quoting In re AT & T Corp., Sec.

Litig., 455 F.3d 160, 166 (3d Cir. 2006). After considering the Gunter and Prudential factors, the

Third Circuit Court of Appeals has advised that “it is sensible for a court to use a second method

of fee approval to cross check its initial fee calculation.” In re Prudential, 148 F.3d at 333.

           (i) Gunter Factors

               a) the amount of the value created and the number of persons benefitted

       The amount of value created and number of persons benefitted favors approval of this

award. Under the terms of the Settlement Agreement, there are set payments ranging from $55.63

to $1,552.25 per Recalled Device, depending on the Recalled Device, for Device Payment Awards

and $100 per Recalled Device for Device Return Awards to Users. Thus, the non-reversionary

$506.3 million prefund represents a floor, not a ceiling, and that amount will increase as additional

returns of Recalled Devices are made and additional claims for Device Payment Awards are filed

and approved. When including the costs for the claims administrator, attorneys’ fees and held

costs, the total minimum constructive common fund becomes $613.3 million. The $94.4 million

attorneys’ fee request equates to 18.65% of the $506.3 million non-reversionary cash prefund

amounts, and 15.4% of the $613.3 million minimum constructive common fund. These



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percentages fall well within the accepted range of up to 45% of the common fund approved within

the Third Circuit. Sorace, 2024 WL 643229, at *13.

                b) the presence or absence of substantial objections by members of the class
                   to the settlement terms and/or fees requested by counsel

        There is only one substantive objection to the attorneys’ fee request, which, significantly,

does not argue that the requested fee is excessive; rather, it is that: (1) the court should not rule on

the Fee Petition until after the expiration of the August 9, 2024 Claims Deadline because “the

claims rate . . . should be considered in determining the amount of fees”; and (2) if the court

awards less than the requested fee, the difference should be paid out to class members or to a cy

pres recipient, rather than remain with the Philips defendants. There, however, is a process for a

claimant to receive payment on an accelerated basis, i.e., the AIO, and the amount to be paid to a

claimant is fixed and cannot be diluted no matter the number of claimants. The court does not view

the payment of attorneys’ fees prior to the Claims Deadline to be adverse to the class members’

interest. The allocation of fees is separate from the award to the class, and because the court found

it fair and reasonable to award the amount of attorneys’ fees requested, there will be no left-over

funds to be paid out to class members. Therefore, this objection does not weigh against awarding

the fees requested.

                c) the skill and efficiency of the attorneys involved

        “The single clearest factor reflecting the quality of class counsels’ services to the class are

the results obtained.” In re Suboxone, 2024 WL 815503, at *14 (cleaned up). As previously

discussed, class counsel are skilled and effective class action litigators that have obtained a highly

favorable settlement in a complex class action multidistrict litigation case.




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               d) the complexity and duration of the litigation

       Before reaching the proposed Settlement Agreement, the economic loss claims in this case

were actively litigated for over a year. The case involved complex legal issues, including those

raised in the various motions to dismiss filed by defendants. Class counsel worked extensively

with experts to address complex issues of science related to liability and to analyze class

certification and damage theories. In short, the litigation has been more than sufficiently lengthy

and complex to justify the requested attorneys’ fees.

               e) the risk of nonpayment

       Class counsel litigated this case on a contingency fee basis, which carries a significant risk

of nonpayment; in fact, “[a]ny contingency fee arrangement includes a risk of no payment.”

O'Keefe v. Mercedes-Benz USA, LLC, 214 F.R.D. 266, 309 (E.D. Pa. 2003)). As was the case in

Sorace, here, “[s]uccess was not guaranteed in this case, and the risk undertaken by counsel merits

approval of the requested fees.” Sorace, 2024 WL 643229, at *13.

               f)   the amount of time devoted to the case by plaintiff's counsel

       Class counsel has yet to receive any compensation for their efforts during the two-plus

years this litigation has continued. As discussed below, in the lodestar crosscheck, see infra section

VIII (C), class counsel risked $571,374.38 in out-of-pocket expenses and 85,798.40 hours of work

with the knowledge that, should their efforts not yield the desired result of recovery for the

plaintiffs, they would not be reimbursed or compensated. The amount of time worked favors

approval.

               g) the awards in similar cases

       In common fund cases, fee awards generally range from 19% to 45% of the settlement

fund. Sorace, 2024 WL 643229, at *13. The requested fee award of $94.4 million represents




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18.65% of the $506.3 million nonreversionary prefund. The request also represents 15.4% of the

minimum constructive common fund of $613.3 million (i.e., the combined value of the prefunded,

non-reversionary cash payments; the costs of Class Notice and Settlement Administration; and the

requested attorneys’ fees and costs). Because the requested fee award is below the low-end of the

accepted range, this factor favors approval.

           (ii) Prudential Factors

               a) the value of benefits accruing to class members attributable to the efforts
                  of class counsel as opposed to the efforts of other groups, such as
                  government agencies conducting investigations

       While actions have been taken by the United States Food and Drug Administration and

Department of Justice with respect to the Recall, class counsel here have “not relied on the

government or other public agencies to do their work for them as has occurred in some cases.” In

re Diet Drugs, 582 F.3d at 544. Class counsel were appointed to represent the plaintiffs in this

multidistrict litigation and have been actively litigating this action, including drafting and filing

the Consolidated Economic Loss Complaint, responding to motions to dismiss, and pursuing and

analyzing discovery, without assistance from the government or any third parties.

               b) the percentage fee that would have been negotiated had the case been
                  subject to a private contingent fee agreement at the time counsel was
                  retained

       “Attorneys regularly contract for contingent fees between 30% and 40% with their clients

in non-class, commercial litigation.” In re Ins. Brokerage Antitrust Litig., 297 F.R.D. 136, 156

(D.N.J. 2013). Here, Settlement Class Counsel’s request for 18.65% of the minimum payment to

Settlement Class Members and only 15.4% of the minimum constructive common fund is

significantly lower than customary percentages in private contingent fee agreements providing a

greater recovery for Settlement Class Members. This factor favors the award of the fees requested.




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                  c) any “innovative” terms of settlement

       The Settlement Agreement also includes an AIO option, helping to ensure that Settlement

Class Members can avoid certain risks and delays of appeal and accelerate the timing of their

payments. Further, the Settlement Agreement provides two-year extended warranties to class

members receiving remanufactured devices through the recall programs. Because the Settlement

Agreement includes beneficial and innovative terms, this factor weighs in favor of approval of the

requested fees.

           (iii) Lodestar Crosscheck

       The percent recovery awards of 18.65% of the minimum payment to Settlement Class

Members and 15.4% of the minimum constructive common fund are well within the acceptable

ranges approved by courts within the Third Circuit. Settlement Class Counsel spent 85,798.40

hours during the relevant period litigating this case and facilitating the settlement of the Economic

Loss Claims in this action. The total lodestar, based on all Fee Applicants’ reported hours and

currently stated hourly rates, is $65,829,309.60. The blended hourly rate for all Fee Applicants is

$767.25, determined by taking the total lodestar divided by the total hours. Here, the requested

$94.4 million for attorneys’ fees represents a 1.43 multiplier of class counsel’s reported

lodestar. The Third Circuit Court of Appeals has recognized that lodestar multipliers from one to

four “are frequently awarded” in class cases. In re Prudential, 148 F.3d at 341. A Lodestar

multiplier of 1.43 does not require the court to reduce the fees requested.

           B. Expenses

       Along with their request for attorneys’ fees in the amount of $94.4 million, the Settlement

Class Counsel are seeking $571,374.38 in expenses. “Counsel for a class action is entitled to




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reimbursement of expenses that were adequately documented and reasonably and appropriately

incurred in the prosecution of the class action.” In re Safety Components, Inc. Sec. Litig., 166 F.

Supp. 2d 72, 108 (D.N.J. 2001) (citing Abrams v. Lightolier Inc., 50 F.3d 1204, 1225 (3d Cir.

1995)). Class Counsel represented that “[t]hese expenses were reviewed by the Accountant, Co-

Lead Counsel, and the [Time and Expense Subcommittee] for compliance with PTO 13.” (ECF

No. 2421 at 40). Based upon that representation and the court’s review of the summary of these

expenses, the court finds them to be reasonable and similar to out-of-pocket expenses incurred in

similar complex litigations. Thus, the expenses were “adequately documented and reasonably and

appropriately incurred in the prosecution of [this] class action.” In re Safety Components, 166 F.

Supp. 2d at 108.

IX.    Conclusion

       Based on the foregoing, and consistent with the court’s findings and rulings at the April

11, 2024 final fairness hearing, the court finds that: (1) all the requirements for class certification

have been met; (2) there was appropriate notice of the settlement of the Economic Loss Claims;

(3) the settlement is fair, reasonable, and adequate; and (4) the distribution plan is fair reasonable

and adequate. Additionally, for the reasons set forth in more detail on the record, the objections to

the settlement raised by seventy-eight putative class members are overruled. Lastly, the court

approves the requested amount of attorneys’ fees and expenses. An appropriate order will follow.



                                                       BY THE COURT:


       April 25, 2024                                  /s/ Joy Flowers Conti
                                                       Joy Flowers Conti
                                                       Senior United States District Court Judge




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                 EXHIBIT A




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                                              OBJECTIONS AND RESPONSE CHART



Ex.
                          Objection                                      Response                                   Brief
No.
2;    Compensation inadequate      given   physical   Irrelevant – Settlement explicitly preserves       pp. 26-27 & n.21
7;    injuries Devices caused                         Personal Injury / Medical Monitoring claims
20;
29;
34;
36;
37;
51;
57;
59;
61;
69;
72

11;   Objects to the Settlement amount. No reason     Conclusory objection that “it’s just not enough”   pp. 27-28 & n.23;
12;   given.                                          money is insufficient.                             pp. 29-32 & n.26
17;
20;
28;
37;
67;
70;
71;
75
1     Compensation is inadequate; Settlement should   Variation of “it’s just not enough” money          pp. 29-32 & n.26
      compensate all time and expense caused by       objection is insufficient.
      Recall.




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                                             OBJECTIONS AND RESPONSE CHART



    Dissatisfaction with Recall and release of Philips     Settlement and FDA-overseen Recall are            pp. 46-48 & n.53
    Defendants; Settlement doesn’t remove all Devices      separate programs, but Settlement nonetheless
    from use; Settlement should Replace all Devices.       provides incentive to return devices – an
                                                           additional 266,539 Devices have been returned
                                                           since Notice was sent.
    Settlement benefits Philips and lawyers more than      Conclusory fee objection is insufficient.         p. 43 & n.46
    consumers
3   Objector complains about experience with the Recall    Objector complaining about the separate Recall,   pp. 46-48 & n.53
    Program; has not received replacement despite          not the Settlement.
    numerous calls to DME and Philips.

    Seeks “aggravation fee” to compensate for his          Variation of “it’s just not enough” money         pp. 29-32 & n.26
    numerous calls to get a replacement and 100% out-of-   objection is insufficient.
    pocket payment for Device.

4   Does not adequately compensate for current and         Irrelevant – Settlement explicitly preserves      pp. 26-27 & n.21
    potential future physical injury.                      Personal Injury / Medical Monitoring claims.
    Objects to amount of attorneys’ fees/costs             Conclusory fee objection is insufficient.         p. 43 & n.46

    Objects to Service Awards.                             Conclusory objection is insufficient.             p. 49 & n.58

5   Dissatisfied with Philips Recall Program.              Objector complaining about the separate Recall,   pp. 46-48 & n.53, n.54
                                                           not the Settlement.
6   Unsupported general objection. No reason given.        Conclusory objection is insufficient.             p. 49 & n.61




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                                               OBJECTIONS AND RESPONSE CHART



8    Recall was working well (he received a                    Objector mistakenly believes the Settlement        pp. 47-48 & n.54
     Remanufactured Device for one Recalled Device)            prevents him from receiving a replacement
     and believes the Settlement prevents him from             device; conclusory objection that “it’s just not
     receiving the replacement DS Go he expected to            enough” money is insufficient.
     receive in Recall; compensation in Settlement is not
     enough to buy replacement for DS Go.


     Compensation is not enough to replace or motivate         Variation of “it’s just not enough” money          pp. 29-32
     him to return DS Go.                                      objection is insufficient.

     Attorneys’ fees are too high in light of his inadequate   Conclusory fee objection is insufficient.          p. 43 & n.46
     compensation.
9    Settlement does not compensate for out-of- pocket         Variation of “it’s just not enough” money          pp. 29-32 & n.26
     payment for device, accessories, interest, or time and    objection is insufficient.
     inconvenience of trying to obtain a replacement.

     Settlement does not require Philips to provide a          Settlement and FDA-overseen Recall are             pp. 46-48 & n.53
     replacement.                                              separate programs; offering replacement
                                                               devices requires FDA approval.
     Hasn’t received DS Go replacement.                        Objector complaining about the separate            pp. 47-48 & n.54
                                                               Recall, not the Settlement; users have option
                                                               under Recall of receiving Recall compensation
                                                               in lieu of waiting for a replacement device.
10   Insufficient compensation for personal injuries he        Irrelevant – Settlement explicitly preserves       pp. 26-27 & n.21
     may have suffered due to problems with Recall and         Personal Injury / Medical Monitoring claims.
     delay in receiving replacement from Philips

     Award is less than what it cost to purchase the Device    Variation of “it’s just not enough” money          pp 29-32 & n.26
     or would cost for a comparable replacement.               objection is insufficient.


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                                              OBJECTIONS AND RESPONSE CHART



     Problems with Recall Program: has waited for a           Objector complaining about the separate Recall,   pp. 46-48 & n.53
     replacement for over a year; Philips hasn’t contacted    not the Settlement.
     him to advise him on the issues that persist with the
     Devices.
13   Settlement offers less than what Recall offered for DS   Users have option under Recall of receiving       p. 31 & n.27& pp. 46-48 &
     Go; Settlement does not cover cost to replace DS Go      Recall compensation in lieu of waiting for a      n.53, n.54
     with another device.                                     replacement device; objector complaining
                                                              about the separate Recall, not the Settlement.

     Problems with Recall Program: unable to change           Objector complaining about the separate Recall,   pp. 46-48 & n.53 & 54
     Recall Program election from replacement of DS Go        not the Settlement.
     to $500 cash offer; has not received replacement.

     Has not received replacement for DS Go or cash           Objector complaining about the separate Recall,   pp. 47-48 & n.54
     offered in Recall.                                       not the Settlement.

     Settlement Award is less than $500 offered in Recall     Objector complaining about the separate           p. 31 & n.27
     Program                                                  Recall, not the Settlement; users have option
                                                              under Recall of receiving Recall compensation
                                                              in lieu of waiting for a replacement device.

14   Settlement Award is less than $500 offered in Recall     Objection ignores that Users have option of       p. 31 & n.27
     Program                                                  receiving Settlement compensation and
                                                              replacement device (upon FDA approval), or
                                                              receiving Recall compensation but not a
                                                              replacement device.
15   Inadequate compensation: Seeks 100%                      Variation of “it’s just not enough” money         pp. 29-32 & n.26
     compensation for out-of-pocket payment for Device;       objection is insufficient.
     No guarantee that Device Replacement Award will
     provide 100% compensation for purchase of
     comparable device.


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                                                OBJECTIONS AND RESPONSE CHART



     Seeks Personal Injury compensation.                        Irrelevant – Settlement explicitly preserves      pp. 26-28 & n.21
                                                                Personal Injury / Medical Monitoring claims.

16   Settlement doesn’t require Philips to fulfill its          Settlement and FDA-overseen Recall are            pp. 46-48 & n.53
     “promise” and duty to repair or replace the Device         separate programs; device remediation plans
     under the Recall Program.                                  require FDA approval.
     Dissatisfied with Recall Program: Neither Philips nor      Objector complaining about the separate Recall,   pp. 46-48 & n.53
     DME have reached out to arrange for repair or              not the Settlement.
     replacement of his Device. He hasn’t received a
     repair or replacement yet.

     Insufficient compensation: Award does not cover the        Variation of “it’s just not enough” money         pp. 29-32 & n.26
     cost of a comparable replacement. Award doesn’t            objection.
     “fund” repair of device.
18   Inadequate compensation in light of health risk.           Irrelevant – Settlement explicitly preserves      pp. 26-28 & n.21
                                                                Personal Injury / Medical Monitoring claims.
     Objection to attorneys’ fees as too high in light of the   Conclusory fee objection is insufficient.         p. 43 & n.46
     size of individual awards; seeks breakdown of how
     attorney’s fees and costs were calculated.

19   Inadequate compensation: Award does not fully        Variation of “it’s just not enough” money               pp. 29-32 & n.26
     compensate cost of Device; Seeks enough to pay for a objection is insufficient.
     comparable replacement.

     Seeks Medical Monitoring and Personal Injury               Irrelevant – Settlement explicitly preserves      pp. 26-28 & n.21
     compensation.                                              Personal Injury / Medical Monitoring claims.




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                                                 OBJECTIONS AND RESPONSE CHART



     Problems with Recall: was not aware of Recall when       Objector complaining about the separate             pp. 46-48 & n.53
     acquired Device in 2016.                                 Recall, not the Settlement; Recall issued in
                                                              2021.
21   Seeks wrongful death compensation.                       Irrelevant – Settlement explicitly preserves        pp. 26-27 & n.21
                                                              Personal Injury / Medical Monitoring claims.

     Device Return Award is unfair to people who want to      Preservation Registry is available through the      pp. 35-36 & n.32
     keep Device for litigation.                              Settlement Website for anyone who wants to
                                                              return their device but have it preserved for
                                                              litigation.

22   Seeks Medical Monitoring compensation.                   Irrelevant – Settlement explicitly preserves        pp. 26-27 & n.21
                                                              Personal Injury / Medical Monitoring claims.

     Objection to fees, costs, and Service Awards.            Fee objection is vague and unsupported; no          p. 43 & n.46; p. 49 & n.58
                                                              specifics about Service Awards.


23   Objects based on “lack of consideration and failure of   Consideration and mutual agreement are set          p. 49 & n.60
     the parties to mutually agree to the terms of the        forth in Settlement Agreement.
     settlement.”
24   Objects because notice says prepaid Device Return label Label is available through the Settlement            pp 31-32 & n.28
     is available on Settlement Website but he could not find Website; Mr. Engling received a prepaid return
     it; language on site was misleading                      label from Angeion.


     Objects to attorney’s fees “for not completely           His objection is to sufficiency of the Settlement   p. 43 & n.46
     representing me or providing … the label.”               rather than adequacy of counsel; conclusory fee
                                                              objection is insufficient even if criticism were
                                                              true; objection does not. undermine court’s
                                                              finding regarding adequacy of counsel.



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                                                     OBJECTIONS AND RESPONSE CHART



    25   Insufficient compensation when compared to out-of-        Variation of “it’s just not enough” money         pp. 29-32 & n.26;
         pocket payment for DS Go, and Settlement does not         objection is insufficient; Objector complaining   pp. 47-48 & n.54
         offer to replace the Device or accessories.               about the separate Recall, not the Settlement;
                                                                   device remediation plans require FDA
                                                                   approval.

         No remediation kit offered.                               Self-service repair can damage Devices and        p. 29 & n.26
                                                                   void warranties; FDA warned against do-it-
                                                                   yourself repairs.

    26   Angeion is not an adequate Settlement Administrator –     Angeion sent notice to more than 5 million        p. 45 & n.52
         call was not returned and email follow up was not         Class Members and received more than
         helpful.                                                  250,000 calls, emails, letters (Angeion Decl.
                                                                   ¶ 39) but only Fischer and one other User
                                                                   objected to its performance.
         Device Replacement Award should not require return of     Variation of “it’s just not enough” money        pp. 29-32 & n.26 6
         the Remanufactured Device. If it does, he should be       objection is insufficient; no basis provided by
         reimbursed for both the purchase of the Recalled          Objector for having two separate devices; Device
         Device and the purchase or rental of the Replacement      Payment Awards provide compensation for
         Device.                                                   Recalled Device purchase, and Device
                                                                   Replacement Awards provide compensation for
                                                                   Replacement Device purchase.
         Recall backlog caused problems.                           Objector complaining about the separate Recall,   pp. 46-48 & n.53
                                                                   not the Settlement.
    27   Settlement Award is inadequate.                           Conclusory objection that “it’s just not          pp. 29-32 & n.26
                                                                   enough” money is insufficient.




6
 The Final Approval brief mistakenly categorizes this as an objection to the requirement of returning a Recalled Device to obtain a Device
Replacement Award. Thus, the discussion accompanying n. 38 on p. 39 of the brief does not apply to Objector 26’s objection.
                                                                           33
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     DS Go will not be replaced.                              Objector complaining about the separate            pp. 47-48 & n.54
                                                              Recall, not the Settlement; users have option
                                                              under Recall of receiving Recall compensation
                                                              in lieu of waiting for a replacement device.
     Settlement benefits litigants and attorneys more than    Conclusory fee objection is insufficient.          p. 43 & n.46
     consumers.

30   Objects to varying Awards for different Devices – says   Rationale is provided: Long Form Notice at         p. 35 & n.30
     no rationale provided.                                   FAQ 8 explains that Awards are based on
                                                              relative pricing of Devices.
     Objects that they had same exposure to toxic materials   Irrelevant – Settlement explicitly preserves       pp. 26-27 & n.21;
     as Users of machines with greater Awards.                Personal Injury / Medical Monitoring claims.       p. 35 & n.31

     No allowance for those who “self-remediated.”            Variation of “it’s just not enough” money          pp. 29-32 & n.26
                                                              objection is insufficient; as to reimbursing for
                                                              paying mechanic to drill out foam, self-service
                                                              repair can damage Devices and void
                                                              warranties; FDA warned against do-it-yourself
                                                              repairs.
     They own their Recalled Devices and should be able to    Preservation Registry is available through the     pp. 35-36 & n.32
     keep it as evidence.                                     Settlement Website for anyone who wants to
                                                              return their device but have it preserved for
                                                              litigation.
31   Dissatisfied with Replacement Device.                    Objector complaining about the separate Recall,    pp. 46-47 & n.53
                                                              not the Settlement.
32   Amount is insufficient to cover any future medical       Irrelevant – Settlement explicitly preserves       pp. 26-27 & n.21
     costs.                                                   Personal Injury / Medical Monitoring claims.

     Objects to Service Awards.                               Confuses “Service Awards” with what Class is       p. 49 & n.59
                                                              being compensated.

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33   No specific objection given.                           Specific objection must be provided so that       p. 49 & n.61
                                                            Parties can respond.
35   Settlement Award is inadequate: Replacement Device     Variation of “it’s just not enough” money         pp. 29-32 & n.26
     Award should be full amount paid for replacement.      objection is insufficient.


     Questions safety of Remanufactured Devices given       Objector complaining about the separate           p. 27 & n.22
     recent FDA warnings and wider issues with Recall.      Recall, not the Settlement; Settlement only
                                                            about Recalled Devices, not Remanufactured
                                                            Devices.
38   Concerned about future health problems.                Irrelevant – Settlement explicitly preserves      pp. 26-27 & n.21
                                                            Personal Injury / Medical Monitoring claims.

     Objects to requirement to return Device to receive     Preservation Registry is available through the    pp. 35-36 & n.32
     Award because it is evidence.                          Settlement Website for anyone who wants to
                                                            return their device but have it preserved for
                                                            litigation.

     Warranty on Remanufactured Device is too limited since Extended Warranty applies to all                  p. 26 & n.20
     misuse by a prior User could void the Extended         Remanufactured Devices, regardless of what a
     Warranty.                                              prior User did or did not hypothetically do.

39   Settlement Award is inadequate for the “issues and     Variation of “it’s just not enough” money         pp. 27-28 & n.23
     inconvenience” he experienced.                         objection is insufficient.

     Dissatisfied with Recall.                              Objector complaining about the separate Recall,   pp. 46-48 & n.53
                                                            not the Settlement.




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40   Settlement Award is inadequate in light of the punitive   Unavailing conclusory objection that does not       pp. 27-28 & n.23;
     damages, loss of life, and wider harms.                   identify any legal, equitable, factual, or          pp. 26-27 & n.21
                                                               procedural errors or deficiencies;
                                                               To the extent objection is based on “loss of
                                                               life” and “wider harms” it is irrelevant –
                                                               Settlement explicitly preserves Personal Injury
                                                               / Medical Monitoring claims.
41   Settlement does not offer replacement or repaired         Users have option under Recall of receiving         pp. 46-48 & n.53, n.54
     Devices; Philips offered him financial payment or         Recall compensation in lieu of waiting for a
     replacement of DS Go; he elected replacement but has      replacement device; device remediation plans
     not received it.                                          require FDA approval; objector complaining
                                                               about the separate Recall, not the Settlement.
     Settlement does not reimburse enough: spent almost        Variation of “it’s just not enough” money           pp. 29-32 & n.26
     $2K on two DS Go Devices and accessories that only        objection is insufficient.
     work with DS Go and wants to be fully compensated


     Requested attorneys’ fee is excessive because             His objection is to sufficiency of the Settlement   pp. 31-32 & n.28;
     Settlement does not compensate for all out-of- pocket     rather than adequacy of counsel; conclusory fee     p. 43 & n.46
     expenses                                                  objection is insufficient even if criticism were
                                                               true; objection does not. undermine court’s
                                                               finding regarding adequacy of counsel.


42   Settlement does not offer replacement or repaired         Objector complaining about the separate             pp. 46-48 & n.53
     machines which have not yet been provided in the          Recall, not the Settlement; device remediation
     recall                                                    plans require FDA approval.
43   Settlement does not consider that the Device may have     Irrelevant – Settlement explicitly preserves        pp. 26-27 & n.21
     caused her physical injury.                               Personal Injury / Medical Monitoring claims.
     Does not want to return Recalled Device to get Device     Don’t have to return device but can get a           p. 39 & n.38
     Replacement Award – is in Portugal.                       prepaid label to do so without cost.

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         Award is insufficient as it does not cover accessories     Conclusory objection that “it’s just not          pp. 29-32 & n.26
         she needed.                                                enough” money is insufficient.
         Dissatisfied with Recall for his DS Go.                    Objector complaining about the separate           pp. 46-48 & n.53, n.54
                                                                    Recall, not the Settlement; users have option
                                                                    under Recall of receiving Recall compensation
                                                                    in lieu of waiting for a replacement device.

    44   Settlement Award is inadequate given the health issues     Irrelevant – Settlement explicitly preserves      pp. 26-27 & n.21;
         and delay in getting replacement devices out.              Personal Injury / Medical Monitoring claims;      pp. 46-47 & n.53
                                                                    Settlement and FDA-overseen Recall are
                                                                    separate programs.
    45   Device Return Award is unfair to people who discarded      Device Return Award (as opposed to Device         pp. 8; 35-36 & n.33
         devices. Philips did not instruct them to keep or return   Payment Award) is not based on Economic
         Recalled Devices                                           Loss but provides an incentive to send Recalled
                                                                    Devices to Philips RS, thereby removing the
                                                                    Recalled Device from circulation; an additional
                                                                    266,539 Devices have been returned since
                                                                    Notice was sent. The Settlement is not unfair
                                                                    just because not everyone can take advantage
                                                                    of every benefit.
         Device Payment Award is too low – he spent much            Variation of “it’s just not enough” money        pp. 29-32 & n.26 7
         more for his Recalled Device; Device Replacement           objection is insufficient; no basis provided by
         Award unfairly requires him to return Remanufactured       Objector for having two separate devices; Device
         Device; he should be fully reimbursed for what he paid     Payment Awards provide compensation for
         for the Recalled Device and for the Replacement            Recalled Device purchase, and Device
         Device.                                                    Replacement Awards provide compensation for
                                                                    Replacement Device purchase.




7
 The Final Approval brief mistakenly categorizes this as an objection to the requirement of returning a Recalled Device to obtain a Device
Replacement Award. Thus, the discussion accompanying n. 38 on p. 39 of the brief does not apply to Objector 45’s objection.
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46   Settlement Award is inadequate punishment of Philips     Conclusory objection is insufficient; Settlement    pp. 27-28 & n.23
     RS.                                                      will provide at least $506 million to Class
                                                              Members.

         Insufficient compensation for physical injuries.     Irrelevant as the Settlement explicitly preserves   pp. 26-27 & n.21
                                                              Personal Injury / Medical Monitoring claims.


     Issues she had with the replacement devices are not      Settlement and FDA-overseen Recall are              pp. 46-48 & n.53
     accounted for.                                           separate programs; Settlement is about the
                                                              Recalled Devices, not the Remanufactured
                                                              Devices.
47   Objects because the claim process is too hard to         Settlement offers a streamlined claim process that pp. 44-45 & n.49,
     understand; since he returned his Device, Philips has    provides automatic Device Payment and Return n. 50
     all his information and should just send him a check.    Awards to Class Members, like this Objector,
                                                              who registered and returned their Recalled
                                                              Devices; objector will receive a
                                                              check unless he elects another form of
                                                              payment.
48   Settlement Award is inadequate given the amount he       Conclusory objection that “it’s just not            pp. 29-32 & n.26;
     paid for his DS Go; does not know “if this settlement    enough” money is insufficient; Objector             pp. 47-48 & n.54
     replaces what [he] was promised” by Philips RS.          complaining about the separate Recall, not the
                                                              Settlement; users have option under Recall of
                                                              receiving Recall compensation in lieu of
                                                              waiting for a replacement device.
49   Settlement is not sufficient to purchase a Replacement   Conclusory objection that “it’s just not            pp. 29-32 & n.26;
     Device for the DS Go; dissatisfied with the Recall       enough” money is insufficient; users have           pp. 46-48 & n.53
     process                                                  option under Recall of receiving Recall
                                                              compensation in lieu of waiting for a
                                                              replacement device; objector complaining
                                                              about the separate Recall, not the Settlement.


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50   Allocation between Device Payment Fund and Device           Negotiated allocation among User Awards              pp. 36-37 & n.34
     Replacement Fund is unfair because merely owning or         according to theory of the case is not unfair just
     using a Recalled Device does not mean the Class             because not everyone is eligible for every
     Member suffered economic loss but those who                 award.
     replaced their Devices did, so Device Replacement
     should be uncapped and fully reimburse cost of
     replacing Recalled Device.


     Award insufficient.                                         Conclusory objection that “it’s just not             pp. 29-32 & n.26
                                                                 enough” money is insufficient.
52   Device should be completely (and immediately)               Settlement and FDA-overseen Recall are               pp. 46-48 & n.53
     replaced at no cost.                                        separate programs; objector complaining about
     General grievance with the Recall process.                  the separate Recall, not the Settlement.

53   Insufficient compensation for personal injuries that        Irrelevant – Settlement explicitly preserves         pp. 26-27 & n.21;
     were caused or exacerbated by continued use                 Personal Injury / Medical Monitoring claims;         pp. 46-48 & n.53
     throughout the Recall.                                      Settlement and FDA-overseen Recall are
                                                                 separate programs.
54   Settlement doesn’t provide for compensation for             Irrelevant – Settlement explicitly preserves         pp. 26-27 & n.21
     “personal injury.”                                          Personal Injury / Medical Monitoring claims.
     Dissatisfied with the Recall.                               Settlement and Recall are separate programs;         pp. 46-48 & n.53
                                                                 objector complaining about the separate
                                                                 Recall, not the Settlement.

55   Insufficient amount to compensate class members for         To the extent the objection is because               pp. 26-27 & n.21
     their injuries caused by failure of Philips to remove the   Settlement does not sufficiently compensate for
     Devices from the market after Philips knew of the           personal injuries, it is irrelevant – Settlement
     problems.                                                   explicitly preserves Personal Injury
                                                                 / Medical Monitoring claims.



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                                                                                                                 pp. 29-32 & n.26
                                                              To the extent objection is based on out-of-
                                                              pocket expenses incurred, it is a variation of
                                                              the “it’s just not enough” money objection and
                                                              is insufficient.
     Philips should pay more for its actions.                 Conclusory objection is insufficient.              pp. 27-28 & n.23

56   Settlement does not adequately compensate for physical   Irrelevant – Settlement explicitly preserves       pp. 26-27 & n.21
     injuries.                                                Personal Injury / Medical Monitoring claims.
     Dissatisfaction with the Recall.                         Settlement and Recall are separate programs;       pp. 46-48 & n.53
                                                              objector complaining about the separate
                                                              Recall, not the Settlement.
58   Unfair that Device Replacement Award is paid only to     Cutoff date was a reasonable, negotiated term      p. 37 & n.35
     Users who purchased a replacement device on or after     to guard against gamesmanship; does not make
     June 14, 2021 and prior to the Execution Date.           Settlement unfair.
                                                              Nevertheless, the Philips Defendants have
                                                              agreed permit this User to submit a claim for a
                                                              Device Replacement Award.
60   Settlement process is “unworkable.” Had hard time        Objection is insufficient in light of the fact that p. 45 & n.52
     getting information he needed from Philips and           Angeion sent notice to more than 5 million
     Settlement Administrator and then got error messages     Class Members and received more than 250,000
     when tried to file Device Replacement Award form. As     calls, emails, and letters (Angeion Decl. ¶ 39),
     a result, he has                                         but only two Users objected to its performance
     $849 in Replacement costs that he cannot get             and only a few to the Settlement Website,
     reimbursed.                                              claims process, etc.




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62   Settlement Award is inadequate in that it does not compensate for        Irrelevant – Settlement explicitly preserves     pp. 26-27 & n.21
     personal injury.                                                         Personal Injury / Medical Monitoring claims.


     Remanufactured Device is defective.                                      Settlement is only about Recalled Devices, not   p. 27 & n.22; pp.
                                                                              Remanufactured Devices; objector                 46-48 & n.53
                                                                              complaining about the separate Recall, not the
                                                                              Settlement.
     Requiring return of the device for $100 is not justified.                Conclusory objection that “it’s just not         pp. 27-28 & n.23;
                                                                              enough” money is insufficient; Settlement and    pp. 46-48 & n.53
                                                                              FDA-overseen Recall are separate programs.

     Objects to returning Recalled Device assuming that Philips is trying     Preservation Registry is available through the   pp. 35-36 & n.32
     to lose evidence that they caused cancer or other diseases.              Settlement Website for anyone who wants to
                                                                              return their device but have it preserved for
                                                                              litigation.
63   Objects to the cutoff date for Replacement Awards being                  Cutoff date was a reasonable, negotiated term    pp. 37 & n.35
     September, 7, 2023, before the Settlement was made public.               to guard against gamesmanship; does not make
                                                                              Settlement unfair.
     Dissatisfied with Recall and delay of receipt of new DS Go.              Objector complaining about the separate          pp. 46-48 & n.53,
                                                                              Recall, not the Settlement; users have option    n.54
                                                                              under Recall of receiving Recall compensation
                                                                              in lieu of waiting for a replacement device.




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64   Settlement Award is inadequate because the amount is insufficient.      Variation of “it’s just not enough” money          pp. 29-32 & n.26
     He paid $987.48 and is only getting $207.43 if he returns the           objection is insufficient.
     device.




     He was not helped by insurance unlike many other people so isn’t        His objection is to sufficiency of the             pp. 36-37 & n.34
     fair that Device Replacement Award doesn’t fully compensate him.        Settlement rather than adequacy of counsel;
                                                                             conclusory fee objection is insufficient even if
                                                                             criticism were true; objection does not.
                                                                             undermine Court’s finding regarding adequacy
                                                                             of counsel.
     Previously was offered $500 or a replacement device but has been        Objector complaining about the separate            pp. 46-48 & n.53,
     waiting for a replacement DS Go for 2 years.                            Recall, not the Settlement; users have option      n.54.
                                                                             under Recall of receiving Recall compensation
                                                                             in lieu of waiting for a replacement device.
65   Amount of the Settlement award is insufficient because it does not      Variation of “it’s just not enough” money          pp. 29-32 & n.26
     reimburse him for having a CPAP repair company service his              objection is insufficient.
     Recalled Device repaired in Oct. 2017.

     Recall has been handled unfairly.                                       Settlement and FDA-overseen Recall are             pp. 46-48 & n.53
                                                                             separate programs; objector complaining about
                                                                             the separate Recall, not the Settlement..
66   Settlement award insufficient because it does not provide relief for    Irrelevant – Settlement explicitly preserves       pp. 26-27 & n.21
     future personal injury or medical costs.                                Personal Injury / Medical Monitoring claims.


     Objects to Service Awards but appears to confuse “Service Awards”       General objection to Service Awards seems to       p. 49 & n.59
     with compensation to Class Members.                                     be an objection to compensation to Class
                                                                             Members


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     beyond reiterating dissatisfaction with Philips’ alleged conduct.


     CPAP made breathing worse not better.                                    Irrelevant – Settlement explicitly preserves     pp. 26-27 & n.21
                                                                              Personal Injury / Medical Monitoring claims.

68   Device Replacement Award is unfair to those who discarded                This objection is a mistaken understanding of    pp. 38-39 & n.37
     Recalled Device; no one instructed her keep Device and now can’t         the Settlement terms. Only have to return the
     be reimbursed for $751.09 spent on Replacement.                          Recalled Device to get a Replacement Award if
                                                                              they still have the Recalled Device.
72   Objects because the sound abatement foam causes serious injury and Irrelevant – Settlement explicitly preserves           pp. 26-27 & n.21
     she will need medical monitoring.                                  Personal Injury / Medical Monitoring claims.

73   Philips has not honored the warranties on the Remanufactured             Breach of warranty action is available to        p. 26 & n.20
     Device and there is no way to enforce Extended Warranty – Court          enforce Extended Warranty and is not released
     should impose strict guidelines and impose fines if Philips does not     in Settlement.
     comply.


     Concerns about health effects of Remanufactured Devices.                 Irrelevant – Settlement explicitly preserves     p. 27 & n.22
                                                                              Personal Injury / Medical Monitoring claims
                                                                              and Settlement is about the Recalled Devices,
                                                                              not the Remanufactured Devices.
     Recall not satisfactory.                                                 Settlement and FDA-overseen Recall are           pp. 46-48 & n.53
                                                                              separate programs; objector complaining about
                                                                              the separate Recall, not the Settlement.
74   Amount of settlement award is insufficient to cover actual financial     Variation of “it’s just not enough” money        pp. 26-32 & n.26
     losses.                                                                  objection is insufficient.

     Requiring return of device to obtain the Device Return Award is          Preservation Registry is available through the   pp. 35-36 & n.32
     unreasonable because they need the machine for future personal           Settlement Website for anyone who wants to
     injury claim.                                                            return their device but have it preserved for
                                                                              litigation.


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76   He (and many others) no longer have the Recalled Device so cannot     Device Return Award provides incentive to          pp. 8; 35-36 &
     receive Device Return Award.                                          send Recalled Devices to Philips RS, thereby       n.33
                                                                           removing the Recalled Device from
                                                                           circulation; Settlement is not unfair just
                                                                           because not everyone can claim every benefit;
                                                                           eligible for Device Payment Award.
77   Confirmation process for Users who do not return their device is      Information for Users not returning devices        pp. 43-44 & n.47,
     burdensome; confirmation process for Users is unfair because not      needs to be updated because Recall                 n. 48
     required from other Users (those returning Devices).                  Registration began nearly 3 years ago; this
                                                                           process allows Users to elect a payment
                                                                           method (e.g., Zelle). Confirmation is a quick
                                                                           and simple process that doesn’t require
                                                                           submitting the additional information
                                                                           requested in standard Claim Form. Philips
                                                                           knows it is communicating with the right
                                                                           person when a Recalled Device has been
                                                                           returned to it.

     Confirmation process flawed because Notice envelope has               Confirmation ID number is not required, a          pp. 43-44 & n.47,
     confirmation ID number and if a User misplaces the envelope they      User can use their Registration number or          n. 48
     can’t complete Form.                                                  other information.

     Accelerated Implementation Option (AIO) is unfair because it is not   This timing of payments (after final disposition   pp. 37-38 & n.36
     available to Users who have not returned and cannot return their      of the litigation) is typical in a class action.
     Recalled Device.                                                      Users who get Accelerated Implementation
                                                                           Option (AIO) are getting an additional benefit
                                                                           because: it incentivizes return of Devices, and
                                                                           is in exchange for valuable consideration (i.e.,
                                                                           Philips pays on accelerated schedule in
                                                                           exchange for return of Device and Users’
                                                                           releases; and the payments and releases are
                                                                           irreversible, even if Settlement is overturned
                                                                           on appeal.). In addition, Settlement is not
                                                                           unfair simply because not everyone gets to
                                                                           access every benefit.

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Notice and website are inadequate because instructions are            Notice and website were clear, approved by         pp. 45-46 & n.51
contradictory and incomplete                                          Court, and contained information needed to
                                                                      meet deadlines.
Class Counsel should not be paid before the Claims Deadline if        No reason to delay payment to Class Counsel        pp. 40-41 & n.40,
Class Members are not getting paid before the Claims Deadline.        because reasonableness of the Fee Award is not     n.41, n.42, n.43
                                                                      based solely upon “the amount actually paid to
                                                                      the class” and instead can be evaluated by
                                                                      reference to the “amounts made available” to
                                                                      the class by the defendant. Here we know that
                                                                      defendants have made half a billion dollars in
                                                                      non-reversionary funds available. In addition,
                                                                      this objection does not argue that the size of
                                                                      the current fee request is unreasonable.
Timing of distribution to Payers is unfair because they should be     This timing of this distribution is typical in a   p. 37 & n.36
paid promptly after claim approval and not delayed.                   class action. Users do not have standing to
                                                                      object to provisions impacting only Payers.
Reminder notice should be sent with respect to uncashed checks and    This is an effort to rewrite the Settlement        p. 48 & n.55
funds from uncashed checks should be distributed to Class Members     Agreement. The Settlement Agreement
not returned to Philips.                                              provides half a billion dollars in non-
                                                                      reversionary funds and the reversion in SA §
                                                                      6.10.2 applies only to uncashed checks and
                                                                      only if Philips pays Additional Amounts to
                                                                      replenish the Device Payment or Device
                                                                      Return Funds. In addition, there is a procedure
                                                                      for uncashed checks in the Settlement
                                                                      Agreement, SA, §§ 6.9-6.10, and efforts were
                                                                      made to avoid the number of checks by
                                                                      offering alternate payment methods, e.g., SA,
                                                                      Ex. 3(a), at 17.
Angeion should be required to run addresses against the National      Angeion already did this before mailing the        Weisbrot Decl. ¶¶
Change of Address database before mailing checks.                     Notices.                                           11-12




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Unfair that Release is effective on the Effective Date and it should   Trying to rewrite Settlement Agreement.           pp. 49 & n.62
be conditioned on Philips completing funding of the various            Philips must make initial funding payments
awards.                                                                within 14 days of Final Approval. In addition,
                                                                       Settlement Class Representatives may seek
                                                                       enforcement of the Settlement in the MDL
                                                                       Court if Philips fails to compete funding.
Unfair because right to terminate not conditioned on number of opt-    Moot.                                             p. 48 & n.56
outs and doesn’t require Philips to pay admin expenses or otherwise
return Class to position it was in prior to Settlement.


Objection process unfair because objections that do not fully          All objections received were addressed            p. 40 & n.33
comply with format required by Settlement Agreement are deemed         regardless of whether they were compliant
invalid and waived.                                                    with the requirements.

Objection process burdensome because objections have to be mailed, This process was approved by the Court and is         PAO § A.2
not electronically submitted.                                      not onerous.

Objection process unfair because doesn’t require Responses to be       The Responses to the objections, part of the      p. 48 & n.57
sent to Objector.                                                      Final Approval Brief, is posted on the
                                                                       settlement website.
There should be a way to attend the Final Approval Hearing at no       Moot; the Court has ruled on this issue.          n/a
cost (e.g. Zoom)

Notice to Objectors should be required in event the Final Hearing is   Moot; the hearing has not been continued.         n/a
continued.                                                             Future changes to Important Dates will be
                                                                       included on the settlement website.
Any difference between the Court’s Fee Award and Counsel’s Fee         Attorneys’ fees are paid separately by Philips    p. 42 & n.45
request should be distributed pro rata to the Class. It should not     and Philips’ User and Payer payment
revert to Philips.                                                     obligations are unaffected by the amount of the
                                                                       Attorneys’ Fee Award. The Philips Defendants
                                                                       agreed to pay fees and costs awarded by the
                                                                       Court up to $95 million, not $95 million
                                                                  46   irrespective of the Court’s award.
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78                      Inadequate compensation for physical injuries   Irrelevant – Settlement explicitly preserves     pp. 26-27 & n.21
     Later elected to
     opt out rather                                                     Personal Injury / Medical Monitoring claims
     than object.       May need his Device for litigation.             Preservation Registry is available through the   pp 35-36 & n.32
                                                                        Settlement Website for anyone who wants to
                                                                        return their device but have it preserved for
                                                                        litigation.




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